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lN THE UNITED STATES DISTRICT COUR

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FOR THE WESTERN DISTRICT OF TENNESSE§pJE: jr
WESTERN DIVlSlON .
T\Mr=: /° ' 30 AW`;-
UNITED STATES OF AMERICA,
Plaintiff,

)
)
)
)
vs. ) Criminal No. 04-203ll-Ml
)
VENCEL MARTIN, )
)
Defendant. )
EL§A_B§B§§MEEI
The following constitutes the Plea Agreement reached between
the United States, represented by Terrell L. Harris, United States
Attorney for the Western District of Tennessee, and Vivian R.
Donelson, Assistant United States Attorney, the defendant, Vencel
Martin, represented by Stephen Leffler, defense counsel. The
parties,r represented and advised throughout by counsel, agree to
the following:

l. The parties enter this Plea Agreement pursuant to Rule

ll(c)(l)(C) of the Federal Rules gi Criminal Procedure. lf the

 

Court rejects the agreement either party may withdraw from the
agreement.

2. The defendant will enter a plea of guilty to Count 20 and
Count 22 of the Indictment.

3. At sentencing the United States will move to dismiss the

remaining count.

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4. The parties mutually agree that the sentence of
imprisonment imposed in this case shall be not less than 12 months,
nor more than l5 months. The defendant will request a sentence of
12 months. The government agrees not to oppose that request as
long as the defendant demonstrates acceptance of responsibility.
lf the court imposes a sentence below or above the agreed upon
range, either party shall be afforded an opportunity to withdraw
from the agreement.

5. The defendant agrees to waive, except with respect to
claims of ineffective assistance of counsel or prosecutorial
misconduct, his rights to appeal his conviction and, challenge the
voluntariness of his guilty plea including, but not limited to, a
motion brought pursuant to Title 28 United States Code § 2255.

6. There are no agreements as to the term of supervised
release, probation, fines or restitution, except the provision
contained in paragraph ? below about restitution. These matters
are left to the discretion of the United States District Court.

7. Should the court deem, restitution appropriate, the
defendant agrees that the Court may consider losses from the count

of conviction and the dismissed counts.

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8. The Court will impose a special assessment of $lO0,00 per
felony count. The assessment of $200.00 will be paid at
sentencing.

FOR THE UNITED STATES

TERRELL L. HARRIS
UNITED STATES ATTORNEY

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Vivian R. Donelson Date

Assistan `tes Attorney
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encel Martin
Defendant

UNITED `SATES DISTRIC COUR - WTERN DSTCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 160 in
case 2:04-CR-20311 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

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Honorable Jon McCalla
US DISTRICT COURT

